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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA

CHARLES NEMON VANDROSS                )
                                      )
            Petitioner,               )              C/A No.   1:17-cv-02484-RMG-SVH
                                      )
   v.                                 )
                                      )
BRYAN STIRLING, Commissioner,         )
South Carolina Department of          )
Corrections, and,                     )
Broad River Correctional Institution. )
                                      )
                                      )
            Respondent.               )
___________________________)

                     PETITION FOR WRIT OF HABEAS CORPUS
                        BY A PERSON IN STATE CUSTODY

1. (a)     Charles N. Vandross was convicted and sentenced in the Greenwood
           County Court of General Sessions in South Carolina.

   (b)     Greenwood County Case No. 2004-GS-24-1187

2. Petitioner was convicted and sentenced on June 21, 2006.

3. Petitioner was sentenced to life in prison.

4. Petitioner was convicted of more than one crime.

5. (a)     Petitioner was convicted of one count of murder and sentenced to life.

   (b)     Petitioner was convicted of burglary, 1st degree and sentenced to life
           (concurrent).

   (c)     Petitioner was convicted of kidnapping and sentenced to 30 years
           (concurrent).

   (d)     Petitioner as convicted of possession of a firearm in the commission of a
           violent crime and sentenced to 5 years, consecutive to the other counts.

6. (a)     Petitioner pleaded not guilty.



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    (b)     Not applicable.

    (c)     Petitioner was tried by a jury.

7. Petitioner did not testify at trial.

8. Petitioner appealed his conviction and sentence.

9. (a)      Petitioner appealed to the South Carolina Court of Appeals.

    (b)     State v. Charles Nemon Vandross, Unpublished Op. No. 2009-UP-192

    (c)     Appeal was dismissed.

    (d)     Dismissed on May 5, 2009

    (e)     State v. Vandross, Unpublished Op. No. 2009-UP-192

    (f)     Petitioner raised the following claims on direct appeal:

            (i)     The trial judge committed reversible error by preventing the
                    defense from introducing evidence Wilson may have killed Best
                    (and then pinned the homicide on Vandross) out of jealousy over
                    his blatant affairs, as the exclusion of this evidence violated State v.
                    Gregory, 198 S.C. 98, 16 S.E.2d 532 (1941), as well as the Sixth and
                    Fourteenth Amendments, under Holmes v. South Carolina, 547 U.S.
                    319 (2006).

            (ii)    The trial judge committed reversible error by allowing into
                    evidence State's exhibit 34, "a photograph of a Bible that was laying
                    in close proximity to the victim's right hand at the incident
                    location," and State's Exhibit 37, "a photograph…of the same Bible
                    from a slightly different angle," as these photographs were
                    irrelevant under Rule 401, SCRE and unfairly prejudicial under
                    Rule 403.

    (g)     Petitioner did not seek further review by a higher state court.

10. Other than the direct appeal, Petitioner sought relief by filing an
    application for post-conviction relief in the state court of South Carolina.

11. (a)     (1)     Petitioner filed an application for post-conviction relief in the
                    Greenwood County Court of Common Pleas.



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        (2)    Greenwood County Court of Common Pleas Case No. 10-CP-24-
               259.

        (3)    The application was filed on February 26, 2010.

        (4)    Petitioner sought post-conviction relief through filing an
               application for post-conviction relief.

        (5)    Petitioner raised the following grounds in his application for post-
               conviction relief:

               a.      Failure to correct misleading errors in Initial Brief argument
                       after notice by applicant, failure to notify applicant of right
                       to discretionary . . .

               b.      Improper statements

               c.      Failure to order voluntariness hearing before use of
                       defendant statement.

               d.      Failure to object to use of defendant statement without
                       voluntariness hearing.

 The Attorney General's Return characterizes the claims as:

               a.      Ineffective Assistance of Trial Counsel;

               b.      Ineffective Assistance of Appellate Counsel;

               c.      Prosecutorial Misconduct (Trial); and

               d.      Judge's Abuse of Discretion (Trial).

        (6)    Petitioner received a hearing where evidence was introduced on
               March 13, 2013.

        (7)    Petitioner’s application was denied.

        (8)    Petitioner’s application was denied on March 17, 2014. [Petitioner
               filed a pro se Applicant's Rule 15 (B) & (C) Motion that PCR counsel
               ratified on November 19, 2013].




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                    Applicant raised the following claims in his Rule 15(b)&(c)
                    Motion:

                    1.       Cumulative effect of more than 100 errors rendered
                             unfair trial;

                    2.       Alleged Confession to Potential Witness Ken
                             Whittington;

                    3.       Decision Not to Testify;

                    4.       Solicitor Lowers Standard for Deciding Guilt with
                             Improper Remarks;

                    5.       Involuntary Statement Used Against Applicant;

                    6.       Holmes v. SC;

                    7.       Failure to Object-- Precluding Review;

                    8.       Prejudicial Advising and Strategizing;

                    9.       Trial Counsel Vouched for Suber;

                    10.      Prejudicial Failure to Investigate, Prepare and Be
                             Diligent;

                    11.      Prejudicial Vouching for the Solicitor;

                    12.      Appellate Defense Failures Prejudicial Applicant;

                    13.      Other Issues;

                    14.      Law;

                    15.      Conclusion and Order;

                    16.      Index to New Exhibits;

                    17.      New Exhibits, Numbered 1-69.




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       (c)     Petitioner also filed a Motion for a Remand or, in the Alternative for Leave
               to File a Successor Post-Conviction Relief Application on August 17, 2015 in
               the South Carolina Supreme Court and raised the following issues:

               (1)     Petitioner has not received his One Bite at the Apple;

               (2)     Petitioner's Batson Claim;

               (3)     The Bible Photographs;

               (4)     Lack of Funding to Date;

               (5)     The Court Should Grant Remand for Hearing on Conflict Issue or,
                       in the Alternative, Grant Leave to File a Second PCR.

               The South Carolina Supreme Court denied the Motion by order, dated
               October 8, 2015.

       (d)     Petitioner did appeal to the highest state court having jurisdiction over the
               action taken on the application for post-conviction relief. The South
               Carolina Supreme Court denied certiorari on July 24, 2017.

   12. GROUNDS FOR FEDERAL HABEAS CORPUS RELIEF

                          (a) RELEVANT FACTUAL INFORMATION

       The State tried Charles N. Vandross--three times-- for breaking into the home of JoAnn

Suber Wilson at night, kidnapping her, and murdering Sanford Best. The first two trials resulted

in mistrials because jurors could not come to a unanimous decision on the verdict. At his third

trial, and after the Solicitor used all of his peremptory challenges to remove African-Americans

from the venire, the jurors convicted Vandross. The Honorable Wyatt T. Saunders, Jr. sentenced

Petitioner to life imprisonment for murder, life imprisonment for first-degree burglary, thirty (30)

years for kidnapping, and a consecutive five (5) years for possession of a firearm during the

commission of a violent crime. Both at trial and during his post-conviction relief proceedings,

Petitioner never had access to funding for experts to use in his defense.




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        Petitioner timely appealed his convictions and sentences. Joseph L. Savitz, III, of the

Office of Appellate Defense, raised the issue that the trial court committed reversible error by

allowing into evidence two photographs of a Bible located next to the victim’s body. One

photograph depicted a Bible that was laying in close proximity to the victim’s right hand at the

incident location, and the other, the same Bible from a very different angle. Counsel argued the

photographs were irrelevant under Rule 401, SCRE and unfairly prejudicial under Rule 403. In its

opinion, the South Carolina Court of Appeals found this claim procedurally barred.1 The Court

of Appeals affirmed the convictions and sentences, and this Court denied Petitioner's petition for

writ of certiorari.

        Petitioner then filed an application for post-conviction relief, and David Belding was

appointed as his attorney. Despite the irregularities readily apparent from a review of the case,

counsel failed to properly raise the Batson2 claim, did not raise the Bible photographs issue, and

failed to secure any funding to challenge the State’s theory of the case despite the State’s heavy

reliance on forensic evidence.3 Petitioner diligently tried to have Belding raise particular issues,

but Belding did not do so.


1       The Court of Appeals cited Holy Loch Distribs., Inc. v. Hitchcock, 340 S.C. 20, 24, 531
        S.E.2d 282, 284 (2000) (“In order to preserve an issue for appellate review, the issue
        must have been raised to and ruled upon by the trial court.”); State v. Benton, 338 S.C.
        151, 157, 526 S.E.2d 228, 231 (2000) (holding an appellant may not argue one ground for
        objection at trial and a different ground on appeal).
2
        Batson v. Kentucky, 476 U.S. 79 (1986).
3
        As contained in the Statement of Relevant Facts, the State called a number of experts: (1)
        Dr. Joel Sexton who testified not only to cause and manner of death, but also to the
        acoustic properties of firearms, (2) Adrienne Riley, a forensic DNA analyst with SLED;
        (3) Tracy Thrower, a firearms identification expert employed by SLED, and (4) Jennifer
        Stoner, a gunshot residue expert from SLED.



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       After the further deterioration of Belding’s and Petitioner’s relationship, and after the

evidentiary hearing was held on Petitioner’s application, Petitioner moved for the court to relieve

Belding of further representation and to appoint new counsel. On October 13, 2013, the

Honorable Thomas A. Russo convened a hearing on this motion. Petitioner was not provided

with notice of the hearing by either his attorney or the court, and Petitioner did not have his legal

materials at this hearing. Judge Russo declined to hear his motion to relieve counsel based on the

speculative possibility that “Judge Newman decides and grants [Petitioner's] PCR application.”

       Petitioner informed Judge Russo, “[T]here were a number of [PCR] issues that were not

stated completely, because they were not spoken in court.” Petitioner told the court he

“followed counsel’s lead” and contended that Belding was ineffective during the PCR hearing,

despite the Assistant Attorney General’s assurances to the contrary.4 Judge Russo informed

Petitioner that alleging ineffective assistance of post-conviction counsel “is not appropriate at

this time until you get a ruling from Judge Newman. Because if Judge Newman grants your

application, then this is moot. This doesn’t matter.” Petitioner informed Judge Russo the issues

not presented “might not be preserved for further review if not properly” presented. Judge

Russo assured Petitioner that if Judge Newman “does not grant your application, then all these

rights that you’re concerned about here are still available to you.” Tr. (10/29/13) 10, ll. 14 – 12, l.

14. See also 16, ll. 5-7 (“[I]f Judge Newman does not grant your application, then you can raise

these issues.”).




4
       At the PCR hearing, the assistant Attorney General was quick to point out that Petitioner
       did not meet his burden under the case law because Belding failed to call any witnesses to
       testify at the hearing.


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         Petitioner reiterated that he “did not receive proper notice of the hearing” and did not

have his legal materials with him. Judge Russo ruled, “I’m going to continue this matter, give you

the opportunity that you need to get the matters that you claim are relevant pursuant to this rule,

and we’ll just reschedule it” (emphasis added). Judge Russo further suggested that Petitioner

“hire [counsel] to assist” when the hearing is rescheduled. Tr. (10/29/13) 16, ll. 21 – 17, l. 12.

         Belding then informed the Court that he would not assist Petitioner further, except that

he “might send him a written notice” of the hearing. Petitioner informed Judge Russo, “We do

not have a[n] amicable relationship.” Belding had called Petitioner “stupid” and told Petitioner,

“I could take my chances with the Supreme Court. This man does not have my best interest at

heart.” Petitioner also informed the court that Belding “hasn’t availed himself to the materials

that I’ve put before him. There’s a lot of things, Your Honor, that he did not do in the PCR

hearing.” Tr. (10/29/13) 17, ll. 13 – 19, l. 23. Petitioner contended he should be able to “decline”

appointed counsel when “there’s a conflict of interest.” Judge Russo acknowledged he didn’t

know if there is a conflict of interest “[b]ecause I haven’t fleshed that out.” Tr. (10/29/13) 22, ll.

10-25.

         Judge Russo continued to reassure Petitioner, “[Y]ou’re going to have every opportunity

that you need to flesh” out the issues with Belding’s representation and instructed the motion to

be scheduled with the next PCR roster in February 2014. Judge Russo again reminded Petitioner

of the possibility of “hiring another attorney to help you with that” hearing. Tr. (10/29/13) 18, ll.

16-20; 20, line 10 – 21, line 18. After a discussion about the possible timing of Judge Newman’s

ruling, Judge Russo stressed, “I just want Mr. Vandross to know that he’s not losing any rights




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here, because we’ve continued this matter. His rights are – are going to be protected in that

fashion.” Tr. (10/29/13) 24, line 11 – 25, line 19.

       Upon the issuance of an order denying relief, and in which the PCR judge claimed to have

reviewed Petitioner’s Rule 15, SCRCP motion, even though it had not been filed at that time,

Belding then failed to file a Rule 59(e) motion. Marlar v. State, 375 S.C. 407, 663 S.E.2d 266

(2006) (defendant’s failure to file motion asking post-conviction relief judge to make specific

findings of fact and conclusions of law as to rejected post-conviction challenges rendered those

challenges waived for appellate review, precluding further review on the merits).

       Undersigned counsel was retained by Petitioner’s family to represent him in this matter.

Upon receipt of the October 29, 2013 transcript, counsel moved the South Carolina Supreme

Court to remand the case to develop the record on the issue of the Belding conflict or, in the

alternative, to allow Vandross an opportunity to file a new PCR application. By order dated

October 8, 2015, the South Carolina Supreme Court denied the motion.

                                       FACTS OF THE CASE

       The State alleged that Petitioner, the erstwhile boyfriend of JoAnn Suber, in a fit of

jealousy, entered Suber’s house in the middle of the night and killed Suber’s other erstwhile and

then-current boyfriend, Sanford Best, by shooting him in the head. Then, Petitioner allegedly

kidnapped Suber and took her to two different locations for purposes of talking to her, and then

returned her back to her house where she was then able to summon for help from the police early

in the morning. Two juries were unable to agree on a verdict in this case.

       The State’s case consisted of JoAnn Suber’s testimony, and a substantial amount of

forensic evidence that the State argued supported and corroborated her version of events.




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Defense counsel did not offer any expert testimony because he did not consult nor retain any

experts. Defense counsel, during both trials, 5 labored under the mistaken belief that Petitioner

was not entitled to any expert funding because Petitioner’s family retained trial counsel. The

following is a brief review of the testimony elicited at petitioner’s third trial.

        JoAnn Suber testified that she began dating Petitioner in July 2003 after they met at a

church function. App. 95. He helped her move into her house during that month. By August they

were living together in Suber’s house. App. 98. According to her, there were problems

immediately, although she later backtracked on that testimony on cross-examination. App. 99.

Suber testified that she worked as a property manager, and petitioner worked at a local

McDonald’s restaurant. App. 100. They lived together on-and-off for about 12- 14 months. App.

103. Petitioner eventually rented an apartment in Greenwood, South Carolina as problems began

to develop in the relationship. App. 103. Suber testified that in October 2004, the two of them

were not living together. App. 103. On October 30, 2004, however, they visited friends in

Greenville, SC together. App. 104. Petitioner and Suber were engaged at one point. He proposed

to her on Thanksgiving Day, 2003. App. 202.

        Suber testified that she had dated Sanford Best, the decedent, in the past. App. 106. On

the morning of October 31, 2004, Suber told Petitioner that he needed to leave her house. He left

her house before she left for church. App. 107. When Suber returned from church, she called

Sanford. He agreed to come over to her house. Suber called her friend, “Jan” and asked her if

Sanford could keep his car parked at her house. App. 108. Sanford spent the night. App. 109.




5
        Another attorney represented petitioner at his first trial. The same attorney, Lance Sheek,
        represented petitioner for trials #2 and #3.


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       The next day, on November 1, 2004, Suber saw Petitioner when he came to her work

place and returned her house key. App. 110.

       Suber testified that she then saw Petitioner on November 3, 2004. On that day she went

to the Civic Center to watch her son’s football game. She also testified that she received a call

from another friend, “Sherry,” and that afterwards she attempted to secure a restraining order

against Petitioner. She testified that she was unable to do so. App. 111. She then called Sanford

again that day and he went to her son’s game with Suber. App. 113.

       Suber testified that she saw Petitioner at her son’s game. She was sitting on the highest

bleacher. Sanford first spotted Petitioner. She claims that Petitioner was staring at them. App.

113-114. The parties did not speak to one another.

       After the ballgame, Sanford took Suber to a cul-de-sac located across from her house.

After that, they went to her house. App. 121- 123. Suber and Sanford decided that Sanford would

park in front of Suber’s house that night, and not behind Jan’s. App. 123. They then fell asleep.

Suber testified that she fell asleep wearing her Regency Park shirt, the name of the property for

which she was the property manager and where she was working prior to going to her son’s

football game. App. 127.

       Suber claims she was awakened when she realized Petitioner had his hand over her mouth

and a gun to her head. She said that he said to her, “Bitch, you better not scream.” She testified

that they started “tusseling” and that he picked her up and threw her onto the bed. App. 128.

She testified that he said to her, “JoAnn, if you don’t stop fighting I’m going to include the

children in it.” App. 128. After that she claims she stopped fighting. She asked him if she could

use the bathroom, and he allowed her to do so. App. 128-29. He “pulled [her] up by [her] hair




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onto [her] knees” and when she stood up, he pushed “[her] into the bathroom.” App. 129. He

did not accompany her.

       While in the bathroom, she testified that she took some of the blood from her mouth and

nose and tried to write Petitioner’s name on the wall in her bathroom. App. 129. In her mind, she

was trying to write, “Charles V, help me." She testified that she smeared some blood so that

when the cops showed up, they would know that it was “foul play.” App. 130.

       According to her testimony, after she wrote his name in her blood, Petitioner came

towards the bathroom. App. 131. She claimed that she could not see his hands. App. 132. He was

facing the bed. He came to the bathroom door, and then threw her her clothes, including her

pants and boots. App. 132.

       According to Suber's testimony, Petitioner then returned to the bed, and then returned to

the bathroom and “threw [her] some duct tape.” App. 133. He told her to place the duct tape on

her mouth. She did so. She said she tried to tear the duct tape with her teeth “trying to leave

some more clues.” App. 133. She stuck some of the duct tape onto the trash can in the bathroom

to also “leave some clues.” App. 134. Suber testified that she did not keep any duct tape in the

house, suggesting that Petitioner brought it with him. She tried to moisten the tape so that if

Petitioner took her around people she would be able to get loose and scream. App. 135. Petitioner

came into the bathroom while she was spitting on it, and he took it from her and started wrapping

the tape around her head. App. 135.

       With the duct tape taped around her head, Suber testified that one nostril was closed and

the other was open. App. 140. She claimed that Petitioner then pushed her out of the bathroom

and into the bedroom. App. 140. He pushed her through the bedroom and although she was not




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sure, she “could have swore” that Sanford had a pillow over his head. App. 140-41. This

testimony was hotly contested during this trial by trial counsel.

        Then, according to Suber, Petitioner took the keys to her car, and they went out the back

door of her house. She noticed that Petitioner put his shoes on. App. 142-43. He also retrieved a

flashlight. He opened her car door and placed her in it. Then he went around and got in on the

passenger side. App. 144.

        Suber testified that Petitioner made her drive to the Tranquil A.M.E. church. There were

two houses next to the church, and one of them had a small porch light on. According to Suber,

Petitioner saw her look at the house and asked her if that was the parsonage. Suber nodded yes,

and then they left that church and pulled out on Highway 221. App. 149. They drove further

down the highway.

        They drove to the new Tranquil A.M.E. church. According to Suber, Petitioner told her

to back in beside the church. There was a silver tank located there. Suber testified that she tried

to back into the tank to “blow both of us up.” App. 152. Petitioner, according to her, put his foot

on her side of the car (presumably the brake) and stopped the car. App. 153. Later, Captain

Marcus Cromer testified that he did not see any skid marks at that location. App. 377. Suber

testified that Petitioner ripped the tape from her mouth and then “went on just about every

argument that we had ever had.” App. 153. She testified that she just shut up and listened. App.

154. Before she knew it, it was “3:00 something” in the morning. App. 155. According to her, at

some point Petitioner offered the statement that his life was ruined because he killed a man. App.

155.




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       Petitioner then pulled Suber out of the car. She said to him, “Charles, how could you say

I didn’t love you? I did love you…Remember you said our hugs was special… (sic). Can we see if

our hugs are special now?” She testified that she thought she was going to die anyway and that

she was trying to calm him down. App. 156-57. They hugged. Then, according to Suber,

Petitioner started quoting scripture from Corinthians, and she started repenting because she

thought she was going to die. App. 157.

       Shortly after this, Petitioner walked over to her, lifted her head and told her that he would

never hurt her. App. 158. They got back into the car. Suber testified that Petitioner placed a clip

into his pocket. App. 159.

       Suber testified that it was 5:50 am, and that Petitioner told her it was time for the children

to get up. Petitioner then took Suber back to her house. App. 160. According to Suber, Petitioner

told her that this would be only his first offense, and that he would likely get “8 to 10 years.”

App. 160. She then drove them both back to her home. Petitioner told her to park in the back.

App. 162.

       Once parked, Suber exited the car. Petitioner made Suber take off her Regency Park work

shirt. App. 164. She testified that he took his fingers and combed her hair into place, and also

cleaned her face. App. 165. He told her that she should not try to use the telephone, and that she

needed to get the children out of the house by 7:30 am or else he was going “to include the

children in it.” App. 166.

       When she entered the house, she went into her 9 and 13 year olds’ room. She woke them

up and told them to get dressed. App. 167. Then she went into her older child’s room, told him




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that Petitioner had killed the decedent, and that he needed to help her get the other children off

to school. App. 168-69.

       At some point, Suber remembered she had a cell phone in the house. App. 171. She called

911. App. 172. Suber and her children then exited the house. Suber testified she could hear the

police sirens. When she saw the police cars, she and her children ran to meet them. App. 178-79.

       On cross-examination, trial counsel attempted to elicit more information about Suber and

the decedent’s tumultuous relationship. On cross, Suber admitted that she had been placed on

trespass notice from the decedent’s house in the past. App. 191. Suber was upset that he was

seeing another woman. On that particular occasion, he refused to open the door and let her in.

App. 192. The jury, however, was not allowed to hear this evidence. The jury, instead, was

merely allowed to hear that the decedent had “cheating problems.”6 App. 205.

       During cross-examination, Suber testified that she did not know where Petitioner’s car

was parked that night that he arrived at her house. App. 233.

       In addition to Suber’s testimony, the State called a series of first responders to testify to

their observations that early morning. Chris Hammett was one of the initial responding officers.

He testified that Petitioner complied with all of law enforcement’s orders, and he did not make

any effort to run away when he was taken into custody in the back yard of Suber’s home. App.

288. Petitioner handed him a gun, and told him that a magazine was in his right front pants

pocket. App. 288.

       Tony Davis was the major in charge of investigations in November 2004. App. 306. He

testified that JoAnn Suber told him where Petitioner’s car was located-- on Cedar Springs Road--




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and contrary to Suber’s trial testimony that she did not know where Petitioner had parked his car.

App. 309.

       Lieutenant Boggs also responded to the scene. He described the bedroom, and stated that

the television was “very loud” when he entered the room. He saw a male laying on the bed with a

gunshot wound to his head. App. 327.

A.     The Physical Evidence

       In addition to Suber and the responding officers’ testimonies, the State also offered a

significant amount of forensic evidence which it claimed corroborated Suber’s story and pointed

to petitioner’s guilt. Petitioner was unable to meaningfully challenge this evidence because trial

counsel never consulted or retained any experts, and even though some of this testimony

appeared counter-intuitive. For example, JoAnn Suber had an enormous amount of the

decedent’s blood on her shirt. App. 212. She claimed, however, that she never heard a gunshot.

App. 213. Suber was sleeping on the side of the bed closest to the door that Petitioner would have

to have entered to do what she alleged happened that night. App. 213.

       Eric Inks with the Greenwood County Sheriff’s Department was the evidence collections

technician for this case. App. 380. He has since been reassigned as a school resource officer. App.

404. Inks collected a gun residue collection kit from Petitioner. App. 381. He also took

photographs of Petitioner when he was first taken into custody. App. 382. He processed and

photographed the incident location. App. 382. He took a picture of a shell casing that was located

on the floor next to the baseboard of the bed. App. 383. He located and photographed a picture

of a crumpled up section of duct tape that he located in the front, passenger seat of Suber’s car.

App. 384.




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       Defense counsel objected to photographs of the decedent that Inks took during his

evidence collection, but the trial court judge overruled the objection. App. 387. The judge warned

the jury that they were going to see graphic photographs. App. 388. The state offered two

pictures of the decedent’s Bible into evidence. App. 391. Defense counsel, however, did not

object at the time the photographs were admitted into evidence.7 App. 392.

       Inks also took pictures of Suber’s injuries. App. 392. He processed her car for evidence.

App. 392. He also photographed both churches. App. 392-93. He took possession of a container

from the autopsy that contained a projectile. App. 394. He took possession of the semiautomatic

pistol petitioner had in his possession and submitted it to the forensic lab for analysis. App. 395.

Inks also secured a roll of duct tape that he recovered from Suber’s car. App. 398. He secured the

shirt that Petitioner was wearing when he met him at the detention center. App. 399. He took

Petitioner’s pants into his possession, and placed them in secure holding for later submission to

the state forensic lab for analysis. App. 400. Inks also collected blood from Suber’s bathroom.

App. 401. He took a photograph of a stocking cap located at the residence. App. 402. He did

not, however, submit that cap for forensic processing. App. 410.

       Inks collected a white shirt that appeared to have red or brown stains on it. At the time of

trial, he had no idea where it was, or whether any analysis had been conducted on it. App. 406.

He collected the shirt from the front passenger floorboard of Suber’s car. App. 407. Inks

admitted a particular smudge near the bottom looked like it could be a handprint. App. 407. Inks




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       This formed the basis of petitioner’s second argument on his direct appeal which the
       South Carolina Court of Appeals concluded was not properly preserved, likely because
       trial counsel did not renew his objection at the time the photographs were entered into
       evidence.


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did not submit that item to the state forensic lab. App. 407. He admitted that, if those spots were

blood, there would be a “good bit” of it on that shirt. App. 414.

       Inks admitted that he did not recover any fingerprints, footprints, fibers, hair, etc. that

placed Petitioner in Suber’s house that day. App. 409-10. Inks did not perform any gunshot

residue testing on Suber. App. 411.

       Dr. Joel Sexton, a forensic pathologist, also testified for the State. App. 418. He was

qualified as an expert in in the field of forensic pathology. App. 420. He testified that he observed

a gunshot wound on the decedent, above the right eye. App. 421. Sexton testified that the

abraided area on the decedent’s head indicates that the gun was against the skin at the time he

gun was fired. App. 422. Sexton testified that the gun introduced into evidence was “consistent”

with the size of the wound. App. 423.

       Then Dr. Sexton additionally passed on his experience as a “master pistol shot and

rifleman” and his experience with “competitive shooting” and testified that it would not be

unusual for someone not to hear a gunshot blast if it happened right next to a person. App. 424,

428. Dr. Sexton’s autopsy report was inconsistent with his courtroom conclusions, and contained

what Sexton called “typographical error” in which he described the wound as “distant

penetrating.” App. 428.

       The State called another forensic expert, Adrienne Riley from the South Carolina Law

Enforcement Division. App. 458. She was qualified as a forensic DNA analyst. App. 459. She

received a number of items, including a blood standard from the decedent, swabs from a gun,

cuttings from Petitioner’s pants, hair from a piece of silver duct tape, swabs from silver duct tape,

pulled head hairs from Suber, cuttings from a shirt, and swabs from a bathroom. App. 459-460.




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The DNA profile from the gun was too weak to reliably interpret. App. 461. Riley noted that

DNA found on the white shirt belonged to the decedent. App. 463. Riley did not detect any blood

on the duct tape. App. 465. Riley also did not find any of Petitioner’s DNA on the duct tape.

App. 465.

       The State also called Tracy Thrower, a firearms expert from SLED. App. 477. He was

qualified as an expert in firearms identification. App. 480. He testified to his extensive testing of

the gun and bullet. App. 482- 486. He concluded that the gun recovered in this case, and from

Petitioner, fired the bullet that killed the decedent. App. 486. He also indicated that this

particular gun appeared to eject on the right hand side of the gun. App. 489, 491.

       The State also called Jennifer Stoner with SLED. She was qualified as an expert witness

in gunshot residue. App. 497. She conducted testing on State’s Exhibit 52, and said she found

round lead particles on both sleeves of the garment. She testified she could not “say I found

gunshot residue” because the other necessary elements, antimony and barium, were not present.

App. 505-06; 511. She did not receive a GSR testing kit from Suber. App. 512. After Stoner’s

testimony, the State rested. App. 521. Petitioner did not testify. App. 524-25.

       The forensic evidence in this case was critical to the defense because it seriously

undermined the credibility of Suber’s account of what happened. As defense counsel argued in

closing argument:

       First of all, if you remember, JoAnn Wilson (Suber) testified when she is in the
       bathroom before she comes out what does he do? He throws her clothes. What is
       one item of clothes I specifically asked her about and she insisted she put it on in
       that bathroom? That green sweatshirt. That green sweatshirt, before they ever
       came out. Charles Vandross didn’t smear all that on there with that green
       sweatshirt on. . .

App. 567.



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     And,

       There is not one single cell of Sanford Best’s blood on his hand, on his shirt, on
       his jacket, on this gun she testified he was holding at that time, on the tape he
       supposedly picked up and throws to her, on the tape he supposedly wraps around
       her head right there in the bathroom, on the car he supposedly goes out and gets
       in, in the seat where he was supposed to be sitting in this car, not one single bit of
       Sanford Best’s blood on any of these things she says he was touching right then.

App. 568.

       Throughout defense counsel’s closing argument, he attempted to rely on problems with

the State’s forensics to argue the State failed to meets its burden of proving petitioner guilty.

App. 576-584; 585.

               DNA on anything anywhere? Not for Charles, yes for Sanford.

               Blood. Again, that matches up with her story? Not a bit.

               Fingerprints. JoAnn, no. Sanford in there, we know JoAnn is in there.

               Duct tape roll. It wasn’t so hard to find DNA. They found DNA on
               the inside of the roll. Whose was it? DNA on the duct tape. Not
               Charles. It was JoAnn’s.…

               Shell casings at the wrong spot. Couldn’t have been shot where they
               say its shot at but it’s consistent with where JoAnn was.

App. 586-87.

       Despite trial counsel’s efforts to undermine the State’s case without the use of any expert

assistance, Petitioner was convicted and sentenced to life in prison. After his unsuccessful direct

appeal, Petitioner filed an application for post-conviction relief and was appointed David Belding

as his attorney.

B.     The Post-Conviction Relief Proceeding




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       During the PCR hearing, Belding essentially abdicated his role as a lawyer and simply put

Petitioner on the stand, asked him questions that were easily apparent from the transcript, and

encouraged him to make the legal arguments that he should have made on his behalf.

       Q:     Did—and you feel like Mr. Sheek effectively handled the shirt issue at—in
              his closing argument?

App. 719.

       Q:     How did you want this—what’s been premarked for identification as No.
              11, what would you have wanted Mr. Sheek to do with this information?

App. 720.

       Q:     Okay. Did you want Mr. Sheek, your attorney, to challenge her credibility
              and try to impeach her testimony by use of things like the incident report
              to show that, in fact, they had had a rocky relationship?

App. 722.

       Q:     Was—was—do you recall whether Ms. Suber-Wilson stated in trial the—
              anything about the—about the alleged violence between her and Mr.
              Best?…And in the – in the process of getting ready for trial, had you
              investigated or looked into the background of Mr. Best to see if, in fact, he
              had any propensity for violence?

App. 724.

       Q:     Mr. Vandross, how did Mr. Sheek, in your defense, handle the fact that
              the duct tape that was found in the car had no blood on it?

App. 729.

       Q:     Was there a—did Ms. Suber-Wilson testify—

              THE COURT: Well, whatever she testified to would be in the
              transcript, wouldn’t it?

              MR. BELDING: Absolutely.

              THE COURT: So why are you asking him that?




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App. 736.

       Q:      Handing you what’s been premarked as No. 52. Would this display have—
               could Mr. Sheek have used this display to attack in summary form her—
               her testimony that the car lights were on?

       MR. JOHNSON: Your Honor, once again, you sustained this objection. Unless
       he’s got the jurors here to testify that it would’ve changed the outcome of this
       trial, I would ask that you direct this—direct Mr. Vandross to move on from this
       subject.

       THE COURT: Well, not Mr. Vandross—

       MR. JOHNSON: Oh.

       THE COURT: -- but counsel.

       MR. BELDING: Counsel.

       THE COURT: Yes, sir.

       MR. BELDING: Your Honor, I don’t know how I’m going to get all 12 of the
       jurors in here to testify about what they would’ve done with things they didn’t
       see. All I’m trying to show is that Mr. Sheek was not effective in representing Mr.
       Vandross at trial.

       THE COURT: Well, this entire line of questioning is irrelevant as to any
       consideration that I will give to his PCR. So unless you’re just attempting to
       establish a record, you’re wasting—otherwise wasting time.

App. 758-59.

       Q:      Did – did you all not have a proposed reasonable doubt charge to present
       to the judge?

       A:      No, sir, we did not.

       Q:      Did you think that—you think that that charge was effective in protecting
               your constitutional rights as to the burden of proof?

App. 760.




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        Q:      Mr. Vandross, this is your day in court on your post-conviction relief
                action. Is there anything that I have not asked you that you would like to
                tell Judge Newman in considering your application, sir?-

App. 761.

        Petitioner then continued to bring issues to the judge’s attention on his own. App. 761-

792. Other than asking Petitioner additional, perfunctory questions, PCR counsel did not

advocate on his client’s behalf by presenting argument either on the substantive legal issues, or

argue prejudice under Strickland v. Washington, 466 U.S. 668 (1984).

        On cross-examination, the State promptly questioned Petitioner if his attorney called any

forensic experts to testify during the PCR hearing. The answer, clearly, was no. App. 792-797. As

was imminently foreseeable, the PCR judge denied Petitioner’s claims. Dempsey v. State, 363 S.C.

365, 610 S.E.2d 812 (2005) (PCR applicant cannot show he was prejudiced by counsel’s failure to

call a favorable witness to testify at trial if that witness does not later testify at the PCR hearing or

otherwise offer testimony within the rules of evidence); Lorenzen v. State, 376 S.C. 521, 657

S.E.2d 771 (2008); Glover v. State, 318 S.C. 496, 458 S.E.2d 538 (1995). See also Putnam v. State,

417 S.C. 252, 789 S.E.2d 594 (2016). Belding then failed to file a SCRCP 59(e) motion asking the

Court to alter or amend its order of dismissal.

        Current counsel substituted for Belding, and filed a Motion to Remand or, in the

alternative, for Leave to File a Successor Post-Conviction Relief Application due to PCR

counsel's failure to meaningfully present claims of trial counsel ineffectiveness. The South

Carolina Supreme Court denied the motion on October 8, 2015.




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                                        HABEAS CLAIMS

   1. Petitioner received ineffective assistance of trial counsel when trial counsel failed to
      obtain funding for expert witnesses when he did not realize he could request funding
      due to Petitioner's indigent status.

       Petitioner’s trial counsel never consulted or secured any experts for either of Petitioner’s

murder trials because he did not know that he could secure funding for them. Given the State’s

heavy reliance on forensic testimony, and the two prior mistrials, counsel’s performance was

objectively both deficient and prejudicial.

       At the PCR hearing, the State elicited the following testimony:

       Q:       So besides the employer and the preacher, did he provide any other
                witnesses that you may or may not have called?

       A:       No specifically. We discussed different type of experts. But we didn’t
                have a particular one. And—and I spoke to the preacher and his boss.

       Q:       Did you hire or retain any experts in this case?

       A:       I did not. Told him that I thought it would be very beneficial to us.
                But I was retained. And he did not have the funds to do that.

                As a matter of fact, I—I obtained all the transcripts of the state’s
                witnesses’ testimony from the second trial at my own expense. It was
                right at $1,000. He couldn’t pay that either. But he did not have any
                funds to seek an expert.

App. 819 (emphasis added).

       As to this claim, the PCR judge's order of dismissal held:

       Counsel testified he wanted to retain experts in this case, but Applicant had no
       funds with which to hire these experts…This Court finds counsel was effective in
       his representation of Applicant and no prejudice resulted in this case.

App. 1156-57.




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       Trial counsel rendered ineffective assistance of counsel when he failed to secure experts

based on his erroneous belief that he could not petition the court for funding, and Petitioner was

prejudiced by his substandard performance. Strickland v. Washington, 466 U.S. 668 (1984).

       “[T]he United States Supreme Court has held that the defendant must have ‘a fair

opportunity to present his defense,’ thereby requiring the State to provide the ‘basic tools’ for an

adequate defense to an indigent defendant.” Bailey v. State, 309 S.C. 455, 459, 424 S.E.2d 503,

506 (1992) (quoting Ake v. Oklahoma, 470 U.S. 68 (1985)).

       South Carolina Code §17-3-50(B) (2003) provides, in pertinent part:

       Upon a finding in ex parte proceedings that investigative, expert, or other services
       are reasonably necessary for the representation of the defendant, the court shall
       authorize the defendant’s attorney to obtain such services on behalf of the
       defendant and shall order the payment, from funds available to the Office of
       Indigent Defense, of fees and expenses not to exceed five hundred dollars as the
       court considers appropriate.

       Here, trial counsel did not articulate any strategic reason for failing to obtain experts that

he, in fact, believed were necessary to Petitioner’s case. He simply did not realize that his client

had the right to the funding even though it is contained in the statute.

       The United States Supreme Court recently rendered its opinion in Hinton v. Alabama,

134 S. Ct. 1081 (2014), a case with facts strikingly similar to the one present in this case. In

Hinton, trial counsel labored under the erroneous belief that there was a funding cap of $1,000 for

his use in securing experts for that petitioner’s capital trial. The Court easily found counsel

rendered ineffective assistance of counsel:

       The first prong—constitutional deficiency—is necessarily linked to the practice
       and expectations of the legal community: ‘The proper measure of attorney
       performance remains simply reasonableness under prevailing professional
       norms…In any case presenting an ineffectiveness claim, the performance inquiry
       must be whether counsel’s assistance was reasonable considering all the



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        circumstances…Under that standard, it was unreasonable for Hinton’s lawyer to
        fail to seek additional funds to hire an expert where that failure was based not on
        any strategic choice but on the mistaken believe that available funding was capped
        at $1,000.

Id. at 1088.

        As in Hinton, trial counsel here also believed that experts would be beneficial for

Petitioner’s case, but he failed to secure funding for them because he apparently believed that,

since he was retained by Petitioner’s family, Petitioner would not be entitled to funding. But that

belief is not supported by the state statute that addresses funding. Here, trial counsel did not

offer any “strategic” reason for failing to request the funding. He simply did not know he could.

Cf. Dempsey v. State, 363 S.C. 365, 610 S.E.2d 812 (2005) (counsel was effective where he did not

call expert to rebut State’s expert testimony because he believed the lack of physical evidence of

abuse, by itself, was enough to rebut the State’s case); Legare v. State, 333 S.C. 275, 509 S.E.2d

472 (1998) (stating that where counsel articulates a valid trial strategy for failing to call an expert

witness to testify at trial, such conduct will not be deemed ineffective); Cherry v. State, 300 S.C.

115, 386 S.E. 2d 624 (1989) (providing an attorney’s performance is not deficient if it is

reasonable under professional norms).

        Also, as in Hinton, the state’s case against Petitioner was heavily reliant on forensic

evidence. Given the centrality of forensic evidence in this case, coupled with the jury’s decision

not to convict Petitioner after two prior trials, counsel’s substandard performance was highly

prejudicial. To date, Petitioner, an indigent defendant, has not been allowed to have experts

review the forensic evidence in his case, or an investigator to investigate his case, violations of his

rights to due process. Ake v. Oklahoma, 470 U.S. 68 (1985); Caldwell v. Mississippi, 472 U.S. 320

(1985). And see Griffin v. Illinois, 351 U.S. 12, 19 (1956) ("There can be no equal justice where the



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kind of trial a man gets depends on the amount of money he has"). Trial counsel did not offer any

"strategic reason" for failing to retain the experts and, in fact, testified that he believed they

needed to hire experts. He simply, it appears, did not realize that he could have petitioned the

trial court for the funding upon a showing that the services were reasonably necessary. S.C. Code

Ann. 17-3-50(B).

       Although Hinton is the latest iteration of this principle, it is not "new law." In Ake v.

Oklahoma, 470 U.S. 68, 71 (1985), the United States Supreme Court recognized that indigent

defendants are entitled to independent mental health experts when their assistance “may well be

crucial to the defendant’s ability to marshal a defense.” Id. at 80. Without independent experts,

defendants could be denied “meaningful access to justice.” Id. 76-77. This is because, while

jurors may disregard a defendant’s testimony or a lawyer’s argument, experts “assist lay jurors,

who generally have no training in” scientific or medical matters “to make a sensible and

educated determination about” the contested issues. Id. 470 U.S. at 81. “By organizing…[data],

interpreting it in light of their expertise, and then laying out their investigative and analytic

process to the jury, the [expert] for each party enable[s] the jury to make its most accurate

determination of the issues before them.” Id. See also Cowley v. Stricklin, 929 F.2d 640 (11th Cir.

1991); Kordenbrock v. Scroggy, 919 F.2d 1091 (6th Cir.) (en banc), cert. denied, 499 U.S. 970 (1991);

Smith v. McCormick, 914 F.2d 1153 (9th Cir. 1990). Because jurors do listen to, are influenced by,

and will rely upon the testimony of such experts, a trial may be fundamentally unfair when a party

is left without expert assistance. Ake, 470 U.S. at 80.

       Numerous courts have found reversible error where, as here, a criminal defendant was

not provided with the essential experts to challenge the State’s presentation of a case. See




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Williamson v. Reynolds, 904 F. Supp. 1529, 1562 (E.D. Okla. 1995), aff’d on other grounds, sub

nom., Williamson v. Ward, 110 F.3d 1508 (10th Cir. 1997) (Habeas relief granted due to trial

court’s failure to provide funding for forensic experts. Court noted “when forensic evidence and

expert testimony are critical parts of the criminal prosecution of an indigent defendant, due

process requires the State to provide an expert who is not beholden to the prosecution. The fact

that forensic evidence and expert testimony are crucial to the prosecution is in and of itself a

sufficient showing of the need for expert assistance and that the defendant would be prejudiced

without it.”) And see Smith v. McCormick, 914 F.2d 1153, 1157 (9th Cir. 1989) (Right to

psychiatric assistance is not satisfied by appointing a “neutral” psychiatrist, but requires “the

right to use the services of a psychiatrist in whatever capacity defense counsel deems

appropriate—including to decide, with the psychiatrist’s assistance, not to present to the court

particular claims of mental impairment.”). Here, trial counsel did not even bother to petition the

court for funds because he simply did not know that he could. Given that there is a statute that

authorizes the funding, trial counsel's performance was clearly deficient.

       This Court should excuse the procedural default on this claim because Petitioner received

ineffective assistance of PCR counsel. Ordinarily a habeas petitioner is procedurally barred from

obtaining federal habeas review of a claim if he failed to raise and exhaust the claim in state court.

See Coleman v. Thompson, 501 U.S. 722 (1991); Wainwright v. Sykes, 433 U.S. 72 (1977). Per the

procedural default doctrine articulated in these cases, habeas review of the claim is only allowed

if the petitioner can show (1) cause for the default and prejudice resulting therefrom, or (2) that

the failure to consider the claim will result in a fundamental miscarriage of justice. See Coleman,

501 U.S. at 750.




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       In some circumstances, a petitioner may establish cause if he was represented by counsel

whose performance was constitutionally ineffective under Strickland v. Washington, 466 U.S. 668

(1984). See Coleman, 501 U.S. at 752; Murray v. Carrier, 477 U.S. 478, 488 (1986). In Coleman,

however, the Supreme Court held that because "[t]here is no constitutional right to an attorney in

state post-conviction relief proceedings," a federal habeas "petitioner cannot claim

constitutionally ineffective assistance of counsel in such proceedings" to establish cause. Fowler

v. Joyner, 753 F.3d 446, 460 (4th Cir. 2014) (quoting Coleman, 501 U.S. at 752).

       In Martinez v. Ryan, ___ U.S.___, 132 S. Ct. 1309 (2012), the United States Supreme

Court announced a "narrow exception" to the Coleman rule. The Court held:

           Where, under state law, claims of ineffective assistance of trial counsel must
       be raised in an initial-review collateral proceeding, a procedural default will not
       bar a federal habeas court from hearing a substantial claim of ineffective assistance
       at trial if, in the initial-review collateral proceeding, there was no counsel or
       counsel in that proceeding was [constitutionally] ineffective.

   Id. at 1320.

       Martinez then, allows a habeas petitioner who seeks to raise an otherwise procedurally

defaulted claim of ineffective-assistance-of-trial counsel before the federal court may do so only

if: (1) the ineffective assistance of trial counsel claim is a substantial one; (2) the "cause" for

default "consist[s] of there being no counsel or only ineffective counsel during the state collateral

review proceeding"; (3) the state collateral review proceeding was the initial review proceeding in

respect to the ineffective assistance of trial counsel claim"; and (4) state law "requires that an

ineffective assistance of trial counsel claim be raised in an initial review collateral proceeding."

Trevino v. Thaler, _U.S._, 133 S. Ct. 1911, 1918 (2013); Fowler, supra. These requirements are

met in the case before this Court.




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         To assess this claim on habeas review, this Court looks to the PCR's court's order of

dismissal. See Ylst v. Nunnemaker, 501 U.S. 797, 111 S. Ct. 2590, 2596 (1991) (Courts should

"look through the subsequent unexplained denials to that [last reasoned] opinion, unless

respondent has carried his burden of adducing strong evidence that one of the subsequent courts

reached the merits of the federal claim"). The PCR judge’s order of dismissal is contrary to, or

involves an unreasonable application of clearly established federal law as determined by the

United States Supreme Court regarding ineffective assistance of counsel as propounded in

Strickland v. Washington, 466 U.S. 668 (1984). Its decision is also based on an unreasonable

determination of the facts in light of the evidence presented in the state court proceedings.

§2254(d) (1), (2). Petitioner was substantially and injuriously prejudiced by his attorneys’

substandard performance. Brecht v. Abrahamson, 507 U.S. 619 (1993). Petitioner respectfully asks

this Court to grant his petition for writ of habeas corpus, and release him from custody.

(b)      Petitioner did not exhaust this claim because he received ineffective assistance of PCR

         counsel. Martinez v. Ryan, 132 S. Ct. 1309 (2012)

(c)      Petitioner did not raise this issue on direct appeal because the issue was not preserved.

(d)      Petitioner did not raise this issue on post-conviction review because he received

         ineffective assistance of PCR counsel. Martinez v. Ryan, 132 S. Ct. 1309 (2012).

(e)      Other Remedies. Current counsel raised this issue to the South Carolina Supreme Court

         on a Motion to Remand, but the Court denied the motion.

      2. Trial counsel rendered ineffective assistance of counsel when he failed to
         object to the Solicitor's improper strike of Asia Seigler, an African-American
         woman from the venire in violation of Batson v. Kentucky.




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       At trial, Petitioner raised a Batson challenge based on the Solicitor’s use of 100% of his

peremptory strikes to remove African Americans from the jury:8

       Basically the State has exercised seven strikes, including the two for the alternates.
       Those strikes were exclusively African Americans. Race would not be a proper
       criteria (sic) to base a strike on and we would challenge the State’s strikes.

App. 51.

       Solicitor Peace responded, with regard to Juror 112, Asia Seigler, that he struck her for

“being unemployed, single.” He further stated, “while there may be some single individuals on

the jury, I don’t think that I sat anybody who was also unemployed, so that was the reason for

striking number 112, Asia Seigler.” App. 52. Trial counsel pointed out to the judge that Ms.

Seigler is a student and that “[w]hile she may not have paid employment, I don’t think being a

student would be a proper reason to strike someone from the jury.” App. 54. The judge asked

Peace, “Any Caucasian juror not stricken an unemployed student?” Peace replied, “No, sir, not

that I’m aware of. I believe everybody on the jury is employed except I think there may be a

housewife.” App. 55. The trial court overruled the objection.

       Trial counsel rendered ineffective assistance of counsel when he did not argue that

removing a student was mere pretext for striking a qualified African-American from the jury. Had

he done so, the trial court judge would have found a Batson error. This issue is patent on the face

of the record, and PCR counsel should have raised this obvious issue.

       PCR counsel further failed in his duty to Petitioner when he did not file a SCRCP Rule

59(e) motion to contest the PCR court’s erroneous interpretation of the claim:

       The PCR judge found:

8
       The only African-American juror that the Solicitor did not strike had a daughter-in-law
       employed as a Correctional Officer at McCormick Correctional Institution. App. 776.


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       This Court finds Counsel was effective in his representation of Applicant by filing
       a Batson motion. Applicant alleges counsel was ineffective for not challenging two
       jurors because one was a student and the other an unemployed housewife.
       Applicant’s understanding of a Batson challenge is misguided. A Batson challenge
       is an objection to a preemptory challenge based solely on a juror’s race. In this
       case, Applicant is not claiming race as a factor for the State’s strikes but lack of
       employment. Employment status is not a ground for a Batson challenge. Because
       Applicant has failed to meet his burden of proof under 71.1(e) SCRCP, this
       allegation is denied.

App. 1160-1161.

       The PCR judge’s ruling wholly misconstrues the nature of the objection raised at trial.9

And, because PCR counsel failed to properly raise this issue during the PCR hearing, instead

simply calling Petitioner to the stand to try and argue the appropriate legal basis of the claim, the

resulting ruling on the issue is nearly incoherent.10 PCR counsel failed in his duty to properly

represent his client during the hearing, and further failed to correct the mistake by pointing out

that the transcript of the trial makes it clear that the basis of the challenge was race. For the

reasons discussed in the argument above, Petitioner asks this Court to excuse the procedural

default due to PCR counsel's ineffectiveness. This Court looks to the PCR's court's order of

dismissal on this claim. See Ylst v. Nunnemaker, 501 U.S. 797, 111 S. Ct. 2590, 2596 (1991)

(Courts should "look through the subsequent unexplained denials to that [last reasoned] opinion,

unless respondent has carried his burden of adducing strong evidence that one of the subsequent

9
       The PCR court did not recognize the third step of Batson. “In the third step, the
       opponent of the strike must show that the race-neutral explanation given was mere
       pretext.” Payton v. Kearse, 329 S.C. 51, 55, 495 S.E.2d 205, 208 (1998). Pretext
       “generally is established by showing the party did not strike a similarly-situated member
       of another race or gender.” State v. Stewart, 413 S.C. 308, 314, 775 S.E.2d 416, 419 (Ct.
       App. 2015).
10
       Counsel’s eliciting any information relating to this claim consisted of his asking Vandross,
       “All right, Mr. Vandross. Anything else that Mr. Sheek did ineffectively on your behalf?”
       App. 766.


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courts reached the merits of the federal claim"). The PCR judge’s order of dismissal is contrary

to, or involves an unreasonable application of clearly established federal law as determined by the

United States Supreme Court regarding ineffective assistance of counsel as propounded in

Strickland v. Washington, 466 U.S. 668 (1984). Its decision is also based on an unreasonable

determination of the facts in light of the evidence presented in the state court proceedings.

§2254(d) (1), (2). Petitioner was substantially and injuriously prejudiced by his attorneys’

substandard performance. Brecht v. Abrahamson, 507 U.S. 619 (1993). Petitioner respectfully asks

this Court to grant his petition for writ of habeas corpus, and release him from custody.

(b)      Petitioner did not exhaust this claim because he received ineffective assistance of PCR

counsel. Martinez v. Ryan, 132 S. Ct. 1309 (2012)

(c)      Petitioner did not raise this issue on direct appeal because the issue was not preserved.

(d)      Petitioner did not raise this issue on post-conviction review because he received

ineffective assistance of PCR counsel. Martinez v. Ryan, 132 S. Ct. 1309 (2012).

(e)      Other Remedies. Current counsel raised this issue to the South Carolina Supreme Court

on a Motion to Remand, but the Court denied the motion. The issue was also raised in

Petitioner's Petition for Writ of Certiorari to the South Carolina Supreme Court.

      3. The trial judge committed reversible error by preventing the defense from
         introducing evidence Wilson may have killed Best (and then pinned the
         homicide on Vandross) out of jealousy over his blatant affairs, as the exclusion
         of this evidence violated the Sixth and Fourteenth Amendments under Holmes
         v. South Carolina, 547 U.S. 319 (2006).

         Had it been allowed, Petitioner's defense at trial would have been that Wilson killed Best

in a jealous rage because of his blatant affairs. The State objected when defense counsel sought to

ask Wilson during cross-examination if Best was dating "anybody else" at the time he was killed.




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ROA p. 94. Defense counsel argued that the evidence was admissible under Holmes v. South

Carolina to help establish that Wilson herself was the killer. ROA, pp. 94-96. The judge

sustained the objection. ROA pp. 99-100.

       Back on cross, Wilson admitted her relationship with Best had been troubled by

"[c]heating issues." ROA p. 105. "I had gone over to his house and seen somebody else there,"

she testified. "I was hurt." ROA p. 105. When Wilson returned to the subject of Best's infidelity

on her own, the judge again sustained the State's objection. ROA pp. 130-32. On redirect, Wilson

flatly denied shooting Best:

           …I did not kill Sanford. I loved Sanford, and I could not sit there next to his
       mama and his family if they even thought I committed a crime against her son I
       did not kill him. I did not ask for any of this.

   ROA, pp. 168-69.

       The trial court judge violated Holmes v. South Carolina by excluding evidence that Wilson

had a motive to kill Best, jealousy. Holmes is just the latest iteration of a long well-established line

of United States Supreme Court cases that hold that a defendant has the right to present a

defense. See Rock v. Arkansas, 483 U.S. 44 (1987), Crane v. Kentucky, 476 U.S. 683 (1986); Green

v. Georgia, 442 U.S. 95 (1979); Chambers v. Mississippi, 410 U.S. 284, 93 S. Ct. 1038 (1973) and

Washington v. Texas, 388 U.S. 14 (1967).

       In Chambers, the appellant complained that he was denied due process because of the

Mississippi trial court’s unreasonable exclusion of evidence that tended to support his defense.

The case involved the shooting of a policeman. Chambers was arrested and charged with the

crime. Another person, McDonald gave a sworn confession to the crime that he later recanted.

McDonald also gave a series of confessions to associates of his who were prepared to testify on

Chambers’s behalf. As for the State’s evidence, they offered a sheriff’s deputy who testified that


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he saw Chambers shoot the victim. Another deputy sheriff observed Chambers “break his arm

down” shortly before the shots were fired.

        At trial, Chambers offered two lines of defense. First, that he did not shoot the victim.

Secondly, that McDonald did. Chambers had been allowed to present some testimony tending to

implicate McDonald—by introducing admissible testimony that McDonald had not been at a café

where he claimed to be when the shooting occurred, that contrary to his testimony he had not

been having a drink with another gentleman, and that he possessed a .22 pistol at the time of the

crime (the kind of weapon used to kill the policeman). As the Court noted, “Chambers defense

was far less persuasive than it might have been had he been given an opportunity to subject

McDonald’s statements to cross-examination or had the other confessions been admitted.”

    As in Chambers, the trial court judge erred here by not allowing Petitioner the opportunity to

meaningfully cross-examine a witness which may have advanced his defense by showing that he

was not the killer.

    The South Carolina Supreme Court's adjudication of this issue resulted in a decision that was

contrary to, or involved an unreasonable application of clearly established Federal law, as

determined by the Supreme Court of the United States, and was also based on an unreasonable

determination of the facts in light of evidence presented in the State court proceeding.

§2254(d)(1), (2).

    (b) This claim is exhausted.

    (c) Direct appeal.

        (1)     Petitioner raised this claim on direct appeal.

        (2)     N/A.




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   (d) Post-conviction Proceedings. N/A.

   (e) Other remedies. N/A.

   18. TIMELINESS OF PETITION. Pursuant to the limitations period prescribed by 28

U.S.C. § 2244(d), this petition is timely if filed on or before September 27, 2017.

       WHEREFORE, Petitioner asks this Court issue an order to have him brought before it,

to the end that he may be discharged from the unconstitutional confinement and restraint, and

grant such other relief as may be necessary and appropriate.


                                                       Respectfully submitted,

                                                       /s/ Elizabeth A. Franklin-Best
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   September 15, 2017.


                                         VERIFICATION
   I declare under penalty of perjury that the foregoing is true and correct. Executed by retained
counsel for Petitioner on September 15, 2017.

                                                       BY: /s/Elizabeth A. Franklin-Best




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